       Case 2:21-mj-03395-DUTY Document 13 Filed 07/23/21 Page 1 of 15 Page ID #:75
                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
        MINUTES -DETENTION HEARING - REVIEW/RECONSIDERATION OF BAIL /DETENTION ORDER -
                                        NEBBIA HEARING

Case No. 2~-MJ-3395                                             CourtSmart ~~23~21                    Date: July 23, 2021
Present: The Honorable PATRICIA DONAHUE                                                                       U.S. Magistrate Judge
          Isabel Martinez                       Nathan Reilly and Michael Morse(Zoom)                                N/A
           Deputy Clerk                                 Assistant U.S. Attorney                              Interpreter /Language


 USA v. Matthew Nicholas Grimes                                   Attorney Present for Defendant:
                                                                      Michael G. Greedman (via Zoom)
     Present     Custody    ❑Bond       Not present                    Present   ❑ CJA     Retd   ❑ DFPD        ❑Not present

PROCEEDINGS: DETENTION HEARING
G~ Government's request for detention is: G~GRANTED ❑DENIED                  WITHDRAWN ❑CONTINUED
❑ Witnesses CST (see separate list).         ❑Exhibits Marked/Admitted (see separate list).
❑ Court orders that exhibits be returned to the respective counsel /party of record.
   ❑ See Receipt for Release of Exhibits to Counsel.
❑ Counsel stipulation to bail.
❑ Court finds presumption under 18 USC 3142e                                     has not been rebutted.
❑ Court ORDERS DEFENDANT PERMANENTLY DETAINED. See separate detention.order.
❑ Court finds presumption under 18 USC 3142e                                     has been rebutted.
C~ Court sets bail at: $ 5,000,000.00                                  6~ SEE ATTACHED COPY OF CR-Ol BOND FORM
     FOR CONDITIONS OF RELEASE.
❑    Court orders that defendant be detained for a period not to exceed ten (10)Court days. See separate order re temporary detention.
❑    Court orders further detention /bail hearing to be set on                                      at                ❑a.m./ ❑p.m. in
     Courtroom                                         before Judge
❑    Court orders case continued to                             at                ❑a.m. / ❑p.m. for                            ,in
     Courtroom                              before Judge
❑    Release Order Issued -Release No.
C~ Other: Defendant waives appearance. Defendant held to answer in the Eastern District of NY on 7/26/21.
 See Judge Donahue's Order Setting Conditions of Release.

PROCEEDINGS:                ❑REVIEW /RECONSIDERATION OF BAIL /DETENTION ORDER -BOND HEARING
                            ❑ NEBBIA HEARING

 Hearing on ❑ Plaintiffls ❑Defendant's request for review /reconsideration of bail /detention order had and request is:
                          ❑ GRANTED      ❑DENIED
 Court ORDERS bail as to the above-named defendant ❑modified to ❑set at: $
     ❑ SEE ATTACHED COPY OF CR-Ol BOND FORM FOR CONDITIONS OF RELEASE.
 ❑    Bond previously set is ordered vacated.
 ❑    Court orders defendant permanently detained. See separate order.
 ❑    Court denies request for bail, defendant shall remain permanently detained as previously ordered.
 ❑    Witnesses CST (see separate list).        ❑Exhibits Marked /Admitted (see separate list).
 ❑    Court orders that exhibits be returned to the respective counsel /party of record.
      ❑ See Receipt for Release of Exhibits to Counsel.
 ❑    Case continued to                                 at                 ❑ a.m. / ❑ p.m. for
      before Judge                                                                 in Courtroom
 ❑    Nebbia conditions are satisfied and the Government approves the bond package as presented to the Court.
 ❑    Other


 Release Order Issued -Release No. 40764                                                                                • 30
                                                                                           Deputy Clerk Initials ~


M-46(06/10)    MINUTES -DETENTION HEARING - REVIEW/RECONSIDERATION OF BAIL /DETENTION ORDER - NEBBIA HEARING
               Case 2:21-mj-03395-DUTY Document 13 Filed 07/23/21 Page 2 of 15 Page ID #:76


                 UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

  Case Name: United States of America v. MATTHEW NICHOLAS GRIMES                                       Case No. 21 MJ 3395
                                                ■ Defendant
                                                ~                   ~ Material Witness

  Violation of Title and Section: 18:951(a), 2,371
                                        Summons        ~ Out of District       ~ UNDER SEAL ~ Modified Date:

  Check only one ofthefive numbered boxes below (unless one bond is to be replaced by another):
  1,       Person    Recognizance Signature On y            (~),Q Affidavit of Surety With Justification        Releas       o.             f
                                                                 (Form crt-s) Signed by:                                          ~        (~
  2. ~ Unsecured Appearance Bond
       $                                                        Defendant's varents, Brett Grimes and
                                                                                                                    ❑
                                                                                                                    ■ Release to Pretrial ONLY
  3. Q Appearance Bond                                          Marissa Grimes                                      ~ Release to Probation ONLY
       $ 5 million                                                                                                  ~ Forthwith Release
     (a).~ Cash Deposit(Amount or %)(Form CR-7)                      ~ With Full Deeding of Property:
                                                                      $2.5 million
     (b).~ Affidavit of Surety Without
           Justification (Form Cx-4) Signed by:                       4015 Corta Road,Santa Barbara, CA
                                                                                                                    ❑All Conditions of Bond
            Brett Grimes                                                                                              (ExceptClearing-Warrants
                                                                                                                       Condition) Must be Met
            Marissa Grimes                                                                                            and Posted by:
            Scott Grimes


                                                                                                                       Third-Party Custody
                                                         4. ❑Collateral Bond in the Amount of(Cash                     Affidavit(Form CR-31)
                                                               or Negotiable Securities):
                                                                $                                                   ~■ Bail Fixed by Court:
                                                          5. ❑Corporate Surety Bond in the Amount of:                pD             / IM
                                                                $                                                         (Judge /Clerk's Initials)


                                                       PRECONDITIONS TO RELEASE
        The government has requested a Nebbia hearing under 18 U.S.C. 4 3142(g)(4).
  ~ The Court has ordered a Nebbia hearing under 4 3142 (g)(4).
  ~ The Nebbia hearing is set for                                         at             ❑ a.m. ❑ p.m.

                                                  ADDITIONAL CONDITIONS OF RELEASE
In addition to the GENERAL CONDITIONS of RELEASE,the following conditions of release are imposed upon you:
i Submit to: ~■ Pretrial Services Agenry (PSA) supervision as directed by PSA; ~ Probation (USPO) supervision as directed by USPO.
~
                  (The agency indicated above, PSA or USPO, will be referred to below as "SupervisingAgency.'~

■ Surrender all passports and travel documents to Supervising Agency no later than July 23, 2021
~                                                                                                                                   sign a Declaration

    re Passport and Other Travel Documents (Form CR-37), and do not apply for a passport or other travel document during the pendency
     of this case.
■ Travel is restricted to CDC, Eastern District of NY, and Southern Dist. of NY
Q                                                                                               unless prior permission is granted by Supervising

       Agenry to travel to a specific other location. Court permission is required for international travel.
■ Reside as approved by Supervising Agency and do not relocate without prior permission from Supervising Agency.
~
    Maintain or actively seek employment and provide proof to Supervising Agency. ~ Employment to be approved by Supervising Agency.
    Maintain or begin an educational program and provide proof to Supervising Agency.
                                                                                     Defendant's Initials:     MG           Date:    ~~23/21

CR-1 (07/21)                               CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                                      PAGE 1 OF 5
           Case 2:21-mj-03395-DUTY Document 13 Filed 07/23/21 Page 3 of 15 Page ID #:77
  Case Name: United States of America v. MATTHEW NICHOLAS GRIMES                                   Case No. 21 MJ 3395
                                             Q Defendant        ~ Material Witness
      Avoid all contact, directly or indirecfly (including by any electronic means), with any person who is a known victim or
       witness in the subject investigation or prosecution, ~ including but not limited to
                                                          ;~ except
  ■ Avoid all contact, directly or indirectly (including by any electronic means), with any known codefendants except in the presence
  ~
       of counsel. Notwithstanding this provision, you may contact the following codefendants without your counsel present:
       SEE ATTACHMENT
      Do not possess any firearms, ammunition, destructive devices, or other dangerous weapons. ~ In order to determine compliance,
       you agree to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
      Do not use or possess any identification, mail matter, access device, or any identification-related material other than in your
       own legal or true name without prior permission from Supervising Agency. ~ In order to determine compliance, you agree
       to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
      Do not engage in telemarketing.
  ■ Do not sell, transfer, or give away any asset valued at $ SEE ATTACHMENT
  Q                                                                                             or more without notifying and obtaining
       permission from the Court, except
      Do not engage in tax preparation for others.
      Do not use alcohol.
      Participate in the electronic remote alcohol monitoring program as directed by Supervising Agency and abide by all the rules and
       requirements of the program. You must pay all or part of the costs for treatment based upon your ability to pay as determined by
       Supervising Agenry.
      Do not use or possess illegal drugs or state-authorized marijuana.   ~ In order to determine compliance, you agree to
       submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
      Do not use for purposes of intoxication any controlled substance analogue as defined by federal law or street, synthetic, or
       designer psychoactive substance capable of impairing mental or physical functioning more than minimally,except as
       prescribed by a medical doctor.
      Submit to: ~drug and/or ~ alcohol testing. If directed to do so, participate in outpatient treatment approved by Supervising Agency.
       You must pay all or part of the costs for testing and treatment based upon your ability to pay as determined by Supervising Agenry.
      Participate in residential ~ drug and/or ~ alcohol treatment as directed by Supervising Agency. You must pay all or part of the costs
       of treatment based upon your ability to pay as determined by Supervising Agency. ~Release to PSA only ~ Release to USPO only
      Submit to a mental health evaluation. If directed to do so, participate in mental health counseling and/or treatment approved by
       Supervising Agency. You must pay all or part of the costs based upon your ability to pay as determined by Supervising Agency.
  ■ Participate in the Location Monitoring Program marked below and abide by all of the requirements of the program and any indicated
  ~
      restrictions, under the direction ofthe Supervising Agency. You must pay all or part of the costs of the program based upon your ability
      to pay as determined by the Supervising Agency. You are financially responsible for any lost or damaged equipment.

      Location Monitoring Technology

           Location Monitoring technology at the discretion of the Supervising Agency

      or


                                                                                                                                ~i2s/zi
                                                                                Defendant's Initials:   M~           Date:
CR-I (07/21)                             CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                                  PAGE 2 OF 5
            Case 2:21-mj-03395-DUTY Document 13 Filed 07/23/21 Page 4 of 15 Page ID #:78
   Case Name: United States of America v. MATTHEW NICHOLAS GRIMES                                           Case No. 21 MJ 3395
                                                     Defendant      ~ Material Witness

       ■ Location Monitoring with a bracelet
       ~
                   at the discretion of the Supervising Agency or
                   Radio Frequency(RF)or
     •
            ~lobal Positioning System (GPS)

               Q Release to the Supervising Agency only or       ~ Placement of bracelet within 24 hours of release
       or


            Location Monitoring without a bracelet

                   at the discretion of the Supervising Agency or

                   Virtual/Biometric or

                  Voice Recognition



       Restrictions

            Location Monitoring only - no residential restrictions

       Q Curfew -You are restricted to your residence every day:
               ■ from 10:00 P.M.
               ~                           to 6:00 A.M.
                  as directed by Supervising Agency

            Home Detention -You are restricted to your residence at all times except for employment, education, religious services, medical
               needs or treatment, attorney visits, court appearances and obligations, essential needs, and

               all of which must be preapproved by the Supervising Agency
            Home Incarceration -You are restricted to your residence at all times except for medical needs or treatment, attorney visits, court
               appearances and obligations, and                                      all of which must be preapproved by the Supervising Agency


      You are placed in the third-party custody(Form CR-31) of
      Clear outstanding ~ warrants or ~ DMV and traffic violations and provide proof to Supervising Agency within                    days
       of release from custody.
      Do not possess or have access to, in the home,the workplace, or any other location, any device that offers Internet access except
       as approved by Supervising Agency. ~ In order to determine compliance, you agree to submit to a search of your person
       and/or property by Supervising Agency in conjunction with the U.S. Marshal.
      Do not associate or have verbal, written, telephonic, electronic, or any other communication with any person who is less than
       the age of 18 except in the presence of a parent or legal guardian of the minor.
      Do not loiter or be found within 100 feet of any schoolyard, park, playground, arcade, or other place primarily used by children
       under the age of 18.
      Do not be employed by, affiliated with, own,control, or otherwise participate directly or indirectly in the operation of any daycare
       facility, school, or other organization dealing with the care, custody, or control of chIldren under the age of 18.
                                                                                    Defendant's Initials:      MG        Date:    7/23/21
CR-1 (07121)                                CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                               PAGE 3 OF 5
           Case 2:21-mj-03395-DUTY Document 13 Filed 07/23/21 Page 5 of 15 Page ID #:79
   Case Name: United States of America v. MATTHEW NICHOLAS GRIMES                                            Case No. 21 MJ 3395
                                               ■ Defendant
                                               ~                 ~ Material Witness

      Do not view or possess child pornography or child erotica. ~ In order to determine compliance, you agree to submit to a search
       of your person and/or property, including computer hardware and software, by Supervising Agency in conjunction with the U.S.
       Marshal.
      Other conditions:

        Comply with local, state and federal guidelines regarding COVID-19 pandemic.
        Copy of the bond to be provided to surety (ies). Defendant is subject to all the General Conditions of Release, a copy of which
        defendant must request from Pretrial Services and provide to sureties.
       SEE ORDER SETTING CONDITIONS OF RELEASE.




                                               GENERAL CONDITIONS OF RELEASE

  I will appear in person in accordance with any and all directions and orders relating to my appearance in the above entitled matter as
  maybe given or issued by the Court or any judicial officer thereof, in that Court or before any Magistrate Judge thereof, or in any other
  United States District Court to which I may be removed or to which the case maybe transferred.

  I will abide by any judgment entered in this matter by surrendering myself to serve any sentence imposed and will obey any order or
  direction in connection with such judgment as the Court may prescribe.

  I will immediately inform my counsel of any change in my contact information, including my residence address and telephone number,
  so that I may be reached at all times.

  I will not commit a federal, state, or local crime during the period of release.

  I will not intimidate any witness, juror, or officer of the court or obstruct the criminal investigation in this case. Additionally, I will not
  tamper with, harass, or retaliate against any alleged witness, victim, or informant in this case. I understand that if I do so> I may be
  subject to further prosecution under the applicable statutes.

  I will cooperate in the collection of a DNA sample under 42 U.S.C. 4 14135a.




                                                                                     Defendant's Initials:      M~'       Date:    ~~23/21
CR-1 (07/21)                             CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                                    PAGE 4 OF 5
        Case 2:21-mj-03395-DUTY Document 13 Filed 07/23/21 Page 6 of 15 Page ID #:80
 Case Name: United States of America v. MATTHEW NICHOLAS GRIMES                                 Case No. 21 MJ 3395
                                                  Defendant     ~ Material Witness


                                ACKNOWLEDGMENT OF DEFENDANT/MATERIAL WITNESS

 As a condition of my release on this bond, pursuant to Tide 18 of the United States Code,I have read or have had interpreted to me
 and understand the general conditions of release, the preconditions, and the additional conditions of release and agree to comply with
 all conditions of release imposed on me and to be bound by the provisions of Local Criminal Rule 46-6.

Furthermore, it is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which will
continue in full force and effect until such time as duly exonerated.

I understand that violation of any of the general and/or additional conditions of release of this bond may result in a revocation of
release, an order of detention, and a new prosecution for an additional offense which could result in a term ofimprisonment and/or
fine.

I further understand that if I fail to obey and perform any of the general and/or additional conditions of release of this bond,this bond
maybe forfeited to the United States of America. If said forfeiture is not set aside,judgment maybe summarily entered in this
Court against me and each surety,jointly and severally, for the bond amount,together with interest and costs. Execution of the
judgment maybe issued or payment secured as provided by the Federal Rules of Criminal Procedure and other laws of the
United States, and any cash or real or personal property or the collateral previously posted in connection with this bond maybe
forfeited.



     7/23/21
                                           /s/ Matthew Grimes as authorized to counsel             805-455-7998
Date                                   Signature ofDefendant/Material Witness                     Telephone Number


       Los Angeles, CA

City and State(DO NOTINCLUDE ZIP CODE)



    Check if interpreter is used: I have interpreted into the                                                 language this entire form
     and have been told by the defendant that he or she understands all of it.



Interpreter's Signature                                                                         Date



 Approved:
                          United States District Judge /Magistrate Judge                        Date

 If cash deposited: Receipt #                               for $


(This bond may require surety agreements and affidavits pursuant to Local Criminal Rule 46.)




                                                                            Defendant's Initials: MG            Date: 7/23/21
                                      CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                              PAGE 5 OF 5
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 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                 No. CR 2:21-MJ-3395
12                     Plaintiff,
                                                ORDER SETTING
13          v.
                                                CONDITIONS OF RELEASE
14    MATTHEW GRIMES,
15                      Defendant.
16
17
18
           The Court hereby ORDERS the defendant Matthew Grimes
19
     ("Defendant") be released on bail under the following conditions:
20
           1.    A bond in the amount of $5 million secured by $2.5 million deed
21
     recorded against 4015 Corta Road, Santa Barbara, California, which property
22
     is owned by Defendant's parents, Brett Grimes and Marissa Grimes. Until
23
     the deed is recorded, Brett Grimes is ordered not to use, transfer, convey, or
24
     otherwise encumber the funds in his IRA retirement accounts.
25
           2.    A bond in the amount of $5 million supported by an Affidavit of
26
     Surety (no justification) signed by Brett Grimes.
27
           3.    A bond in the amount of $5 million supported by an Affidavit of
28
     Surety (no justification) signed by Marissa Grimes.
Case 2:21-mj-03395-DUTY Document 13 Filed 07/23/21 Page 8 of 15 Page ID #:82



 1         4.    A bond in the amount of $5 million supported by an Affidavit of
 2   Surety (no justification) signed by Scott Grimes.
 3         5.    Defendant will transfer his $1 million in savings as soon as
 4 ~ practicable to the custody of his counsel of record in this matter, who may use
 5 ~ the funds as necessary for Defendant's legal fees and other expenses.
 6        6.     Defendant shall submit to Pretrial Services Agency ("PSA")
 7 ~ supervision as directed by PSA.
 8         7.    Defendant shall surrender all passports and travel documents to
 9   PSA no later than July 23, 2021, sign a Declaration re Passport and Other
10   Travel Documents(Form CR-37), and shall not apply for a passport or other
11   travel document during the pendency of this case.
12         8.    Defendant shall reside as approved by PSA, and Defendant shall
13   not relocate without prior permission from PSA.
14         9.    Defendant shall have no contact with the first named defendant
15   in Eastern District of New York matter No. 1:21-cr-00371(BMC)(TAM), or
16   with any officials of the United Arab Emirates or the Kingdom of Saudi
17   Arabia or their known associates. Defendant shall have no contact with the
18   second named defendant other than in the company of their respective
19   counsel.
20         10.   Defendant shall travel only by road or common air carrier.
21         11.   As directed by the government, and subject to further order of the
22 ~ United States District Court for the Eastern District of New York, Defendant
23   shall appear in that Court on or about Monday, July 26, 2021 (the "EDNY
24   Initial Hearing"). In advance of travel to the EDNY Initial Hearing,
25   Defendant will remain in the Central District of California. Within 24 hours
26   of notice being provided of the EDNY Initial Hearing schedule, Defendant
27   shall provide a complete travel itinerary to the government. When Defendant
28   travels from the Central District of California to the EDNY Initial Hearing,

                                            2
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 1   he shall be accompanied by one of his counsel to the security checkpoint at the
 2   airport in Los Angeles and then shall be met at the security checkpoint at the
 3   airport in New York by one of his counsel.
4          12.   After the EDNY Initial Hearing, travel shall be restricted to the
 5   Central District of California, the Eastern District of New York, and the
6    Southern District of New York. Written advanced notice shall be provided to
 7   government of all itineraries not less than three business days in advance of
 8   travel between these districts.
9          13.   As directed by the government, and subject to further order of the
10 ~ United States District Court for the Eastern District of New York, on the day
11   of the EDNY Initial Hearing Defendant shall report to EDNY Pretrial
12   Services, shall agree to such telephone and/or Internet contact protocol as is
13   directed, and shall submit to GPS monitoring, at his own expense.
14         14.   Defendant shall participate in the following Location Monitoring
15   Program and abide by all of the requirements of the Program and any
16   indicated restrictions, under the direction of PSA:
17               Location Monitoring with a bracelet;
18               Global Positioning System (GPS);
19               Release to PSA only for placement of the bracelet;
20               Curfew: Defendant is restricted to his residence between 10 p.m.
21               and 6 a.m. local time.
22         15.   Defendant shall not transfer any funds overseas or engage in any
23   financial transaction with any overseas counterparty. Defendant shall not
24   engage in any domestic financial transactions in excess of $10,000 (excepting
25   normal and customary payment of attorneys' fees, and including but not
26   limited to any transactions involving publicly held securities of any
27   description) without the prior written consent of the government.
28

                                            3
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 1         16.   Defendant shall obtain from PSA a copy of the General Conditions
 2   of Release and is ordered to comply with those conditions.
 3         17.   Defendant shall comply with all local, state, and federal
 4   guidelines regarding COVID-19.
 5         18.   Defendant shall provide a copy of these release conditions and the
 6   general release conditions to all of the sureties.
 7
 8                                       IT IS SO ORDERED.
 9
10
                                         HON. PATRICIA DONAHUE
11                                       UNITED STATES MAGISTRATE JUDGE
12
     DATED: July 23, 2021
13
     Los Angeles, CA
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      Case 2:21-mj-03395-DUTY Document 13 Filed 07/23/21 Page 11 of 15 U.o
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                                                                                     #:85
                                                                                   !r;TCOURT                    CLERK,

  Date Approved: 7/23/21                 Extension:

  BY AUSA Nathan Reilly
                                                                                                                     JUL 2 ~s 2(Y~)
     0 PSA Officer (for material wilness onlvJ    ❑ AUSA                                                         L—
                                                                                                             ^~~PJTRA _-~~ ~~-L - CALIFOR~~IA
  Signature: _~G~Z"^""" ~~~                                                                                               ~~          — DEPUTY



                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
  UNITED STATES OF AMERICA                                             ~ CASE NUMBER
                                                            PLAINTIFF, I
                                                                                                           21-MJ-3395
                                    v.

  Matthew Crrimes
                                                                              AFFIDAVIT OF SURETY(NO JUSTIFICATION)

                                                      DEFENDANT(S).


    I,the undersigned surety, state on oath that I permanently reside within the jurisdiction ofthe United States District Court
for the Central District of California at the address indicated below or in (City, State):
4015 Corta Road, Santa Barbaza,CA 93110

    I further state that I understand the provisions of the bond executed by the above-named defendant for which this affidavit
supports, and I agree to be bound as a condition of this bond by the provisions ofLoca] Criminal Rule 46-6 as set forth at the
bottom of this document and further acknowledge and agree that I and my personal representatives are bound as a condition
of this bond, jointly and severally with the defendant and other sureties, to pay to the United States of America the sum of
~ 5,000,000                   in the event that the bond is forfeited.

   I further understand that it is my obligation to inform the Court and counsel of any change in residence address or
employment of the defendant immediately upon becoming aware of such fact.

    I further agree and understand that, unless otherwise ordered by the Court, the bond for which this affidavit supports is
a continuing bond (including any proceeding Qn appeal or review) which shall continue in full force and effect until such time
as the undersigned is duly exonerated by Order of the Court.

    I declare under the penalty of perjury that the foregoing is true and correct. Executed on this                         22nd           day of
 July                             _ 20 21

    Brett Grimes                                                                  XXX-XX-4062
    Na       urety                                                            Socia] Security Number of Surety (Last ~J digits only
            ~                      --                                                       4015 Corta Road
    Signa       of Surety                                                     Address of Surety

                                Father                                        Santa Barbara, CA 93110
    Relationship of Surety                                                    City, State, Zip Code

Loea1 Criminal Rule 4~6
    Bond -Summary rldjucL'caAon oj061igalion
A bond or undertaking presentedforfiling shall contain consent ofthe principal rend surety that, rn case of default or cavatumacy on the part ofllte
principal or surety, the Co~v~, upon ten (10) d4ys notice, may render ajudgment sunemarily rn accordance with d:e obligation undertaken mtd issue a
writ of execution upon such judgment, Rn indemnitee or party in in(eresl seeking a judgmen( on a hond or undertaking shall proceed by ~1~fotion for
Summary Adj'u~eat~on ojObligalion and Execution. Service »ray be made on a corporate surety as provided in 31 U.S.C. § 9306.




CR-04(02109)                                      AFFIDAVIT OF SURETY'(~10 JUSTIFICATFON)
      Case 2:21-mj-03395-DUTY Document 13 Filed 07/23/21 Page 12 of 15 Page ID #:86

  Date Approved: _7./23/2021            Extension.                                                                      rri r_~
                                                                                                          CLERK, ~,;,             ITT CO~lPT
  BY~ .aliSA ~atlian Reillv
      D PSA Officer (Jor material witness onlvJ   ❑ AUSA

 Signature:
                                                                                                                 JUL 2{2021
                                                                                                                      ,~-              r,~ ~ .

                                               U1vITED STATES DISTRICT COURT                                                          ~ r`'
                                              CENTRAI, DISTRICT OF CALIFORNIA
 UNITED STATES OF AMERICA                                                 CASE NUMBER
                                                           PLAINTIFF,
                                                                                                         21-MJ-3395
                                   ~.
  Matthew Grimes
                                                                             AFFIDAVIT OF SURETY(NO JUSTIFICATION)

                                                     DEFENDANT(S).


    I,the undersigned surety, state on oath that I permanently reside within the jurisdiction of the United States DisErict Court
for the Centrat District of California at the address indicated below or in (City, State):
4015 Corte Road, Santa Barbara, CA 93110

    I further state that I understand the provisions of the bond executed by the above-named defendant for which this affidavit
supports, and I agree to be bound as a condition of this bond by the provisions ofLocal Criminal Rule 46-6 as set forth at the
bottom of this document and further acknowledge and agree ttzat I and my personal representatives are bound as a condition
of this bond,jointly and severally with the defendant and other sureties, to pay to the United States of America the sum of
$5,004000                     in the event that the bond is forfeited.

   I further understand that it is my obligation to inform the Court and counsel of any change in residence address or
employment of the defendant immediately upon becoming aware of such fact.

    I further agree and understand that; unless otherwise ordered by the Court, the bond for which this affidavit supports is
a continuing bond (including any proceeding on appeal or review) which shall continue in full force and effect until such time
as the undersigned is duly exonerated by Order of the Court.

   I declare under the penalty of perjury that the foregoing is true and correct. Executed on this                          22nd          day of
 ~~Y                            .20 21

    Marisa ('crimes                                                              X XX-XX-7.199
    Name of Suret}F                                                          Social Security Number of Surety (Last ~ digits only)
              iUL~ ~-t,
              I                             2,~.                                           4015 Corte Road
      ignature of Surety                                                     Address of Surety

                               Mother                                        Santa Barbara, CA 9311d
    Relationship of Surety                                                   City, State, Zip Code

Luca! Criminal Mule 46-b
    Bond -Summary r3djuckca~ion ofObligation
A bond or undertaking presentedforfling shall contain consent of the principal and surety that, in case of default or contumacy on the part ojthe
principal or surety, the Court, upon ten X10) days notice, may render ajudgment summarily in accordance with the obligation undertake» and issue a
writ oJexec~~tion upon .such judgment An inde~itee or party rri interest seekrr:g ajudgment on a bond or undertaking shalt proceed by tLfotion for
Summary.4d1'udication ofObJtgatiori and Execution Service may be made on a corporate surety as provided in 31 U.S.C. §9306.




CR-04(02/09)                                      AFFIDAVIT OF SURETY(NO JUST[FICATIOIV~
 Dete Approved: 7/23/2021 _Extension:

 BY~AUSA Nathan Rei11Y
    ❑ PSA OfFicer ((or
                    ~  aleri on

 Signahtre:        ~v


                                             UNITED STATES DISTRICT COURT
                                            CENTRAL DISTRICT OF CALIFORNIA

 iJNITED STATES OF AMERICA                                          ~ CASE NUMBER
                                                         PLAINTIFF, ~                                  21-MJ-3395

 Matthew Crrimes
                                                                           AFFIDAVIT OF SURETY(NO JUSTIFICATION)




    I,the undersigned surety, state on oath that I permanently reside within thejurisdiction ofthe United States District Court
for the Central District of California at the address indicated below or in (City, State):
2611 E.2nd Street, Austin, Texas, 78702

    I fiuther state thatI understand the provisions ofthe bond executed by the above-named defendant for which this affidavit
supports,and I agree to be bound as a condition ofthis bond by the provisions ofLocal Criminal Rule 46-6 as set forth at the
bottom ofthis document and further acknowledge and agee that I and my personal representatives are bound as a condition
of this bond,jointly and severally with the defendant and other sureties, to pay to the United States of America the sum of
$5,000,000                   in the event that the bond is forfeited.

   I further understand that it is my obligation to inform the Court and counsel of any change in residence address or
employment of the defendant immediately upon becoming aware ofsuch fact.

    I further agree and understand that, unless otherwise ordered by the Court, the bond for which this affidavit supports is
a continuing bond(including any proceedingon appeal or review)which shall continue in full force and effect until such time
as the undersigned is duly exonerated by Order of the Court.

    I declare under the penalty of perjury that the foregoing is true and correct. Executed on this                    ?2nd          day of
    y                            ,2021

    Scott Grimes                                                               XXX-XX-2107
    Name of urety~                                                         Social Security Number of Surety (Last 4 digits on(yJ

                  iJ~'                                                                           1 E 2nd Street
                                                                                                                                                                        A
    Si         e of Surety                                                  Address of Surety                                                             ~.~
                                                                                                                                                          '             r-
                                                                                                                                                                       to
               Brother                                                     Austin, Texas 78702                                                              ~~
                                                                                                                                                      (~,   C         C
    Relationship of Surety                                                 City, State, Zip Code
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Lola!Criminal Ru/t X6-6
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    Bond -SummaryAdjudicNion ojObligation                                                                                                                              J
A hand or undMakteg presentedjor~ling sl~al! contvin consen( ofthe principal and surety That, in case oJdejaulf or contumacy on the part oj~be
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prixipal a svnry, the Court, upon ten (l OJ days naece, may render ajudgmeru summarily in accordance with rAe ob(iga(ion undermken and issue a    gip O          fO
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m11 ofexecution upon suchjudgment. An indemnilee or parry in interest seeking ajudgmerst on a bond or underlokirog shall proceed by Motionfor
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Sumin~yAdjudication oj061igdion and Execution Service maybe made on a corporate surety as provided rn 31 U.SC.§9306.
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                                                                                                                                                                             Case 2:21-mj-03395-DUTY Document 13 Filed 07/23/21 Page 13 of 15 Page ID #:87




CR-04(0?/09)                                    AFFIDAVIT OFSURE7l'(NO JUSTIFICATIOIh
 Case 2:21-mj-03395-DUTY Document 13 Filed 07/23/21 Page 14 of 15 Page ID #:88



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                                            United States District Court
                                            Central District of California




            Kiry K. Gray                                                               Jeffrey Thomason
District Court Executive / Clerk of Court                                 Acting Chief Probation &Pretrial Services Officer




                                                              Date: July 23, 2021
                                                              Re: Release Order Authorization
                                                              Docket Number: 2:21- MJ-03395-1
                                                              Defendant: Matthew Nicholas Grimes



To Whom It May Concern:

The above-referenced defendant was ordered released on a bond that includes the special
condition of placement into the Location Monitoring Program and RELEASE TO PRETRIAL
SERVICES ONLY. The Location Monitoring Unit has been advised and is available to release
the defendant from custody.

If you determine the bond has been satisfied, please prepare a release order with the RELEASE
TO PRETRIAL SERVICES ONLY box checked for the duty Magistrate Judge's signature.

                                                             Sincerely,




                                                               ~~~~~
                                                             Nicholas Walker
                                                             U.S. Probation &Pretrial Services Officer
                                                             Telephone No.213-894-3076
Case 2:21-mj-03395-DUTY Document 13 Filed 07/23/21 Page 15 of 15 Page ID #:89
            ~                ~.          ~~                  ~   ~~
                                                                  j                 ~.


                                          United States District Court
                                          Central District ofCalifornia




                Kiry K. Gray                                                    Jeffrey Thomason
   District Court Executive ~ Clerk of Court                        Acting Chief Probation & Pretrial Services
                                                                                     Officer



 PACTS No: 7532521

                                               Passport Receipt

 Defendant Name: Matthew Nicholas Grimes                          U.S. Probation &Pretrial Services
 Name on passport, if different:                                   Headquarters

 Country of Origin: iJnited States
 Date passport issued: January 8, 2016                            Edward R. Roybal Federal Building
                                                                  and U.S. Courthouse
 Expiration date of passport: January 7,2026                      255 East Temple Street, Suite ]410
 Ordered by court in the Central District of California           Lvs Angeles, CA 90012-3332
                                                                  213-894-4726/FAX 213-894-023 I
 Docket Number: 0973 2:21-Q3395M-1




                                                                            7/23/2021
 Surrendered By                                                             Date



                                                                             G1 ~ ~"~~~7~.'
 Surrendered To                                                             Date ~




 Returned To                                                                Date




 Surrendered By                                                             Date


Purpose Returned
Address(if mailed)




                                       U.S. Probation &Pretrial Services.
